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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 VIRNETX INC., and                              §
 LEIDOS, INC.,                                  §
                                                §
 Plaintiffs,                                    §
                                                §             No. 6:12-cv-00855-RWS
 v.                                             §
                                                §
 APPLE INC.,                                    §
                                                §           JURY TRIAL DEMANDED
 Defendant.                                     §
                                                §



      JOINT STIPULATION CONCERNING APPLE’S iMESSAGE COUNTERCLAIMS

          On April 10, 2018, Apple moved for judgment as a matter of law (“JMOL”) under

   Federal Rule of Civil Procedure 50(a), requesting that the Court enter judgment of no

   infringement based on Apple’s iMessage noninfringement counterclaim. 4/10/2018 Trial Tr.

   111:1–17. The Court carried Apple’s motion for consideration in connection with post-trial

   briefing. Id. at 113:1–6.

          On May 31, 2018, Apple renewed its motion for JMOL under Federal Rule of Civil

   Procedure 50(b), requesting that the Court enter judgment of no infringement based on Apple’s

   iMessage noninfringement counterclaim. Dkt. 775 at 14–15.

          On August 30, 2018, the Court denied Apple’s renewed motion for JMOL of no

   infringement based on Apple’s iMessage counterclaim. Dkt. 798 at 24. In denying Apple’s

   motion, the Court stated that, with respect to iMessage, “Apple’s counterclaim for declaratory

   judgment of noninfringement has not been dismissed.” Id.
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          On August 30, 2018, the Court entered final judgment. Dkt. 801. The final judgment

   did not expressly state the disposition of Apple’s counterclaim of noninfringement for

   iMessage. Id.

          For the avoidance of doubt, the parties stipulate that the Court’s August 30, 2018 order

   and judgment dismissed Apple’s counterclaim for declaratory judgment of noninfringement as

   to iMessage without prejudice. To the extent necessary, the parties stipulate to dismissal

   without prejudice under Rule 41(a)(1)(A)(ii) and (c) of Apple’s counterclaim for declaratory

   judgment of noninfringement as to iMessage.
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 Dated: September 27, 2018                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who have

 consented to electronic service on this 27th day of September, 2018. Local Rule CV-5(a)(3)(A).



                                                    /s/ Joseph A. Loy
